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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division


HANNAH CRAMER,et al.

                     Plaintiffs,

V.                                                  Civil Action No. 3:18-CV-39-HEH

ARKESIA,INC. d/b/a CLUB
ROUGE,et al.

                     Defendants.

                  ORDER GRANTING PARTIES'JOINT MOTION
                        FOR APPROVAL OF SETTLEMENT

        THIS MATTER is before the Court on the Parties' Joint Motion for Approval of

FLSA Settlement(ECF No. 256). Upon consideration ofthe Parties' Motion and having

held an approval hearing on November 26, 2018, it is hereby ORDERED that the Motion

is GRANTED and that the Parties' Settlement Agreement is APPROVED as fair and

adequate. This action is DISMISSED with PREJUDICE, except that this Court retains

jurisdiction to enforce the terms of the settlement pursuant to Kokkonen v. Guardian Life

Ins. Co. ofAm.,511 U.S. 375(1994).

        The Clerk is DIRECTED to send a copy ofthis Order to all counsel ofrecord.

        It is so ORDERED.




Date:                                                             /s/
Richmond, Virginia                             Henry E. Hudson
                                                Senior United States District Judge
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 So moved and consented to:




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